Case 2:17-cv-01321-WJM-MF Document 61 Filed 05/01/19 Page 1 of 1 PageID: 454




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY




--------------------------
MAILBU MEDIA, LLC.,                   2:17-CV-01321 WJM

               Plaintiff,

v.
                                        O R D E R
TIM MCMANUS, et al

             Defendants.
--------------------------



           The parties appearing on April 30, 2019 for a

Hearing on the Court’s Order to Show and the parties having

indicated that the action has been settled; therefore;

           It is on this 1st day of May, 2019

           O R D E R E D that the above captioned matter

is hereby dismissed.



                                        s/William J. Martini

                                    _______________________________
                                     WILLIAM J. MARTINI, U.S.D.J.
